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 6                          IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
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      IN RE: Bard IVC Filters Products Liability      No. MDL 15-02641-PHX-DGC
 9
      Litigation,
10    ___________________________________
11
      Doris Jones and Alfred Jones, Sr.,              No. CV-16-00782-PHX-DGC
12    a married couple,
13            Plaintiffs,                             ORDER
14    v.
15    C. R. Bard, Inc., a New Jersey corporation;
      and Bard Peripheral Vascular, Inc., an
16    Arizona corporation,
17           Defendants.
18
19
20           This multidistrict litigation proceeding (“MDL”) involves thousands of personal
21    injury cases brought against Defendants C. R. Bard, Inc. and Bard Peripheral Vascular,
22    Inc. (collectively, “Bard”). Bard manufactures and markets medical devices, including
23    inferior vena cava (“IVC”) filters. The MDL Plaintiffs have received implants of Bard
24    IVC filters and claim that they are defective and have caused Plaintiffs to suffer serious
25    injury or death.
26           The case brought by Doris and Alfred Jones has been selected as one of several
27    bellwether cases and is set for trial in May 2018. Defendants have filed a motion for
28    partial summary judgment. Doc. 7351. The motion is fully briefed, and the parties agree
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 1    that oral argument is not necessary. For reasons set forth below, the Court will grant the
 2    motion in part and deny it in part.1
 3    I.     Background.
 4           The IVC is a large vein that returns blood to the heart from the lower body. An
 5    IVC filter is a small metal device implanted in the IVC to catch blood clots before they
 6    reach the heart and lungs. This MDL involves seven different versions of Bard IVC
 7    filters – the Recovery, G2, G2 Express, G2X, Eclipse, Meridian, and Denali. They are
 8    spider-like devices that have multiple limbs fanning out from a cone-shaped head. The
 9    limbs consist of legs with elastic hooks that attach to the IVC wall and curved arms that
10    serve to catch or break up blood clots.       Each of these filters is a variation of its
11    predecessor.
12           The MDL Plaintiffs allege that Bard filters are more dangerous than other IVC
13    filters because they have higher risks of tilting, perforating the IVC, or fracturing
14    and migrating to vital organs. Plaintiffs further allege that Bard failed to warn physicians
15    and patients about these higher risks. Plaintiffs assert a host of state law claims and seek
16    both compensatory and punitive damages. Defendants dispute Plaintiffs’ allegations,
17    contending that Bard filters are safe and effective, that their complication rates are low
18    and comparable to those of other IVC filters, and that the medical community is aware of
19    the risks associated with IVC filters.
20    II.    Plaintiffs Doris and Alfred Jones.
21           In August 2010, before gastrointestinal surgery, Doris Jones was implanted with
22    an Eclipse filter due to recurrent deep vein thrombosis. Dr. Anthony Avino implanted the
23    filter without incident. In April 2015, Mrs. Jones went to the emergency room with
24    complaints of lightheadedness and arm pain. A chest scan revealed a fractured filter limb
25
26
27           1
              The motion redacts certain information concerning Mrs. Jones’s personal
      medical history. Doc. 7531. Defendants have filed an unredacted version of that brief
28    under seal. Doc. 7354. The Court will cite to the redacted motion in addressing the
      summary judgment arguments.

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 1    that had embolized in the right pulmonary artery.       The filter was removed but the
 2    fractured limb remains in place.
 3           Mrs. Jones and her husband assert various claims under Georgia law, some of
 4    which have been withdrawn. The following claims remain: failure to warn (Counts II
 5    and VII), design defects (Counts III and IV), misrepresentation (Counts VIII and XII),
 6    negligence per se (Count IX), fraudulent concealment (Count XIII), consumer fraud and
 7    unfair trade practices (Count XIV), loss of consortium (Count XV), and punitive
 8    damages. See Doc. 364 (master complaint); Doc. 1, CV-16-00782-PHX-DGC (short-
 9    form complaint).2
10           Defendants seek summary judgment on the failure to warn, misrepresentation,
11    negligence per se, consumer fraud and unfair trade practices, and punitive damages
12    claims. Doc. 7351 at 3. Plaintiffs concede that summary judgment is proper on the
13    consumer fraud and unfair trade practices claim. Doc. 7943 at 2 n.1. The Court will
14    grant summary judgment on that claim and the misrepresentation and negligence per se
15    claims. The Court will deny summary judgment on the failure to warn and punitive
16    damages claims.3
17    III.   Summary Judgment Standard.
18           A party seeking summary judgment “bears the initial responsibility of informing
19    the court of the basis for its motion, and identifying those portions of [the record] which
20    it believes demonstrate the absence of a genuine issue of material fact.” Celotex Corp. v.
21
22           2
                The master complaint is the operative pleading for most of the cases in this
      MDL. It was created for the sake of convenience and serves as a long-form complaint
23    giving notice, pursuant to Rule 8, of the allegations that Plaintiffs assert generally.
      Plaintiff-specific allegations are contained in individual short-form complaints or certain
24    complaints served on Bard before the filing of the master complaint. See Doc. 249 at 6.
      Plaintiffs also provide Bard with profile forms and fact sheets that describe their
25    individual conditions and claims. See Doc. 365.
26           3
               Defendants do not seek summary judgment on the claims for design defect
      (Counts III and IV), fraudulent concealment (Count XIII), and loss of consortium (Count
27    XV). Plaintiffs withdrew the followings claims before Defendants moved for summary
      judgment: manufacturing defect (Counts I and V), negligent failure to recall or retrofit
28    (Count VI), and breach of warranty (Counts X and XI). See Doc. 7351 at 2. Plaintiffs do
      not assert claims for wrongful death or survival (Counts XVI and XVII).

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 1    Catrett, 477 U.S. 317, 323 (1986). Summary judgment is appropriate if the moving party
 2    shows that there is no genuine dispute as to any material fact and the movant is entitled to
 3    judgment as a matter of law. Fed. R. Civ. P. 56(a). Only disputes over facts that might
 4    affect the outcome of the suit will preclude the entry of summary judgment, and the
 5    disputed evidence must be “such that a reasonable jury could return a verdict for the
 6    nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The
 7    evidence must be viewed in the light most favorable to the nonmoving party, Matsushita
 8    Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986), and all justifiable
 9    inferences are drawn in that party’s favor because “[c]redibility determinations,
10    the weighing of evidence, and the drawing of inferences from the facts are jury
11    functions,” Anderson, 477 U.S. at 255.
12    IV.    Failure to Warn (Counts II and VII).
13           Georgia law applies in this case because the alleged injuries occurred in Georgia
14    and Plaintiffs lived there when their complaint was filed. Doc. 7351 at 5; Doc. 1 ¶¶ 4-6,
15    CV-16-00782-PHX-DGC.         To establish a failure to warn claim under Georgia law,
16    “the plaintiff must show that the defendant had a duty to warn, the defendant breached
17    that duty and the breach was the proximate cause of the plaintiff’s injury.”      Wheat v.
18    Sofamor, S.N.C., 46 F. Supp. 2d 1351, 1362 (N.D. Ga. 1999). “[A] manufacturer has a
19    duty to warn of nonobvious foreseeable dangers from the normal use of its product.”
20    Thornton v. E.I. Du Pont de Nemours & Co., 22 F.3d 284, 289 (11th Cir. 1994). The duty
21    to warn arises “whenever the manufacturer knows or reasonably should know of the
22    danger arising from the use of its product.” Chrysler Corp. v. Batten, 450 S.E.2d 208,
23    211 (Ga. 1994). The duty may be breached in two ways: “(1) failing to adequately
24    communicate the warning to the ultimate user or (2) failing to provide an adequate
25    warning of the product’s potential risks.” Thornton, 22 F.3d at 289.
26           In cases involving medical devices, Georgia applies the “learned intermediary”
27    doctrine. Under this doctrine, the manufacturer has no “duty to warn the patient of the
28    dangers involved with the product, but instead has a duty to warn the patient’s doctor,


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 1    who acts as a learned intermediary between the patient and manufacturer.” McCombs v.
 2    Synthes (U.S.A.), 587 S.E.2d 594, 595 (Ga. 2003) (citing Ellis v. C. R. Bard, Inc., 311
 3    F.3d 1272, 1279-80 (11th Cir. 2002)). The manufacturer’s warnings to the physician,
 4    however, “must be adequate or reasonable under the circumstances of the case.” Id.
 5           In this case, Plaintiffs allege that Bard failed to adequately warn physicians about
 6    the known defects and higher complication rates associated with Bard filters. Doc. 364
 7    ¶¶ 174-78, 211-16. Plaintiffs claim that this failure constitutes a breach of Bard’s duty to
 8    warn and proximately caused their injuries. Id. ¶¶ 177-81, 215-17. Plaintiffs assert strict
 9    liability and negligence claims for the alleged failure to warn. Id. ¶¶ 171-81, 202-09; see
10    Doc. 1 at 3, CV-16-00782-PHX-DGC.
11           Defendants contend that proximate cause is lacking because Dr. Avino did not
12    read the Eclipse filter’s instructions for use (“IFU”) and had actual knowledge of the risk
13    of fracture. Doc. 7351 at 6-7. Defendants further contend that the warnings provided
14    with the Eclipse filter were adequate because they included the complication experienced
15    by Mrs. Jones. Id. at 8-11. The Court will address each argument.
16           A.     Causation.
17                  1.     Failure to Read the Eclipse IFU.
18           Defendants rely on Wilson Foods Corp. v. Turner, 460 S.E.2d 532, 534 (Ga. Ct.
19    App. 1995), for the proposition that “failure to read product instructions . . . will prevent
20    a plaintiff from recovering on a claim grounded on failure to provide adequate warning of
21    the products’ potential risk.” Doc. 7351 at 6. Defendants contend that Dr. Avino did not
22    read the Eclipse IFU before implanting the device in Mrs. Jones, and Plaintiffs therefore
23    cannot show that any warning inadequacy proximately caused their injuries. Id.
24           But the duty to warn is breached not only by having a deficient warning, but also
25    by “failing to adequately communicate the warning to the ultimate user.” Thornton,
26    22 F.3d at 289. Indeed, Wilson makes clear that failure to read instructions “‘does not bar
27    recovery where the plaintiff is challenging the adequacy of the efforts of the
28    manufacturer or seller to communicate the dangers of the product to the buyer or user.’”


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 1    460 S.E.2d at 534 (quoting Thornton, 22 F.3d at 290). Plaintiffs bring such a challenge
 2    in this case.
 3           Plaintiffs claim that the instructions contained in the IFU were inadequate, and
 4    that Bard otherwise failed to communicate sufficient warnings to physicians.
 5    Specifically, Plaintiffs allege that Bard breached its duty to warn by not “providing
 6    instructions for safe use” or “communicating the information and dangers” about Bard
 7    filters to physicians. Doc. 364 ¶¶ 181, 216. Plaintiffs note that medical device warnings
 8    are provided in various ways, including “dear doctor” letters, product pamphlets, and
 9    statements by the company sales representatives.           Doc. 7943 at 14 (citing Allen v.
10    Belinfante, 458 S.E.2d 867, 869 (Ga. Ct. App. 1995) (assessing doctor’s awareness of
11    “dear doctor” letters and other sources of information about potential risks in determining
12    liability for failure to warn claim)); see PLIVA, Inc. v. Mensing, 564 U.S. 604, 615 (2011)
13    (noting that manufacturers provide warnings through dear doctor letters).
14           Given Plaintiffs’ claim that Bard breached its duty to warn by failing to adequately
15    communicate warnings to physicians through means other than IFUs, the fact that
16    Dr. Avino may not have read the Eclipse IFU is not dispositive on causation. See Jones
17    v. Amazing Prods., Inc., 231 F. Supp. 2d 1228, 1247 (N.D. Ga. 2002) (“A plaintiff’s
18    failure to read a warning will not . . . bar recovery as to the first prong of the test: namely,
19    where the plaintiff is challenging the adequacy of the defendant’s efforts to communicate
20    the dangers of the product to the user[.]” (citing Wilson, 460 S.E.2d at 534)); In re Stand
21    ‘n Seal Prods. Liab. Litig., No. 1:07MD1804-TWT, 2009 WL 2145911, at *6 (N.D. Ga.
22    July 15, 2009) (denying summary judgment where the plaintiffs did not read the warning
23    label but claimed that the manufacturer’s efforts to communicate the dangers were
24    inadequate (citing Wilson)); Mizell v. Pilgrim’s Pride Corp., No. CV 509-064, 2012 WL
25    130056600, at *5 (S.D. Ga. Mar. 14, 2012) (finding the failure to read a warning not
26    dispositive where the plaintiff challenged the manufacturer’s communication of the
27    warning (citing Wilson)); In re Seroquel Prods. Liab. Litig., No. 6:06-md-1769-Orl-
28    22DAB, 2007 WL 4117201, at *2 (M.D. Fla. Nov. 6, 2007) (denying summary judgment


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 1    where the plaintiffs alleged that the manufacture failed to communicate drug risks in dear
 2    doctor letters and promotional materials used by sales representatives); see also Flowers
 3    v. Eli Lilly & Co., No. 3:14-cv-0094-LHR-VPC, 2015 WL 12622058, at *3 (D. Nev. July
 4    10, 2015) (manufacturer met its duty to communicate potential risks by sending dear
 5    doctor letters to physicians).4
 6                     2.     Knowledge of the Risk.
 7             Defendants note that the causal link is generally broken where the treating
 8    physician has actual knowledge of the risk. Doc. 7351 at 7. Defendants contend that
 9    proximate causation is lacking in this case because Dr. Avino was aware of IVC filter
10    complications – including fracture – before implanting the Eclipse filter in Mrs. Jones.
11    Id. Defendants further contend that Bard cannot be liable for failure to warn because IVC
12    filter complications are well known by the medical community. Id. at 9.
13             Plaintiffs concede that Bard warned Dr. Avino and other physicians about filter
14    complications generally, but contend that the warnings were inadequate because Bard did
15    not disclose that the risk of complications for the Eclipse filter was higher than those of
16    other IVC filters, including Bard’s own Simon Nitinol Filter (“SNF”). Doc. 7943 at 6-7,
17    10-11.       Plaintiffs present evidence that the Eclipse and its predecessor devices, the
18    Recovery and G2 line of filters, involved substantially greater risks of fracture than other
19    IVC filters. Doc. 7943 at 4. Plaintiffs claim that Dr. Avino was not aware of the higher
20    risks, and that he would have wanted to know this information when deciding whether to
21    implant the Eclipse filter in Mrs. Jones.          Id.   Dr. Avino testified that his initial
22    understanding was that the fracture rates for Bard filters were very low, and he learned
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24             4
               The parties dispute whether Dr. Avino actually read the Eclipse IFU. Dr. Avino
      testified that he sometimes reads IFUs, but does not read them on every package where
25    the product is the same, and that he does not specifically recall if he read the Eclipse IFU.
      Doc. 7357-3 at 5. Plaintiffs contend that Dr. Avino was aware of the warnings in the
26    Eclipse IFU because he read those very warnings for Bard’s G2 line of filters. Doc. 7943
      at 13. The Court finds that there is a genuine factual dispute on this issue that is best
27    resolved by the jury. See In re Stand ‘n Seal, 2009 WL2145911, at *6 (finding triable
      issue where the plaintiff could not remember whether he read the warnings and noting
28    that “[i]ssues of causation are for the jury to resolve and should not be determined by a
      trial court as a matter of law except in plain and undisputed cases”).

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 1    only during the past several years that the rates were higher. Doc. 7974 at 42-43.
 2    He further stated that the time period in which he treated Mrs. Jones “predates the peak of
 3    his concern and the release of the warnings about the complications of filters.” Id.
 4    at 33-34. He made clear that if Bard knew about higher complication rates associated
 5    with its filters before Mrs. Jones’s surgery, he would have wanted to know that
 6    information. Id. at 34, 45-46.
 7           Construed in Plaintiffs’ favor, Dr. Avino’s testimony is sufficient evidence of
 8    causation at the summary judgment stage. A jury reasonably could infer that he would
 9    not have implanted the Eclipse filter in Mrs. Jones had he been warned about higher
10    fracture rates. See In re C. R. Bard, Inc., Pelvic Repair Sys. Prods. Liab. Litig., No. CV
11    2:10-cv-01224, 2013 WL 2431975, at *7 (S.D. W. Va. June 4, 2013) (denying summary
12    judgment where the doctor never explicitly stated that he would not have used Bard’s
13    product had he been provided additional warnings, but explained that the information
14    would have been “helpful” and “nice to have”); Cason v. C. R. Bard, Inc., No. 1:12-CV-
15    1288-HMS, 2015 WL 9913809, at *6 (N.D. Ga. Feb. 9, 2015) (denying summary
16    judgment where the doctor stated that “he would have wanted to know if the G2 Filter
17    had a significantly higher risk of complications than other IVC filters”). Georgia law is
18    clear that summary judgment is warranted on the issue of causation only where the
19    physician testifies unequivocally that he would have made the same decision despite the
20    proposed warning. See Dietz v. Smithkline Beecham Corp., 598 F.3d 812, 816 (11th Cir.
21    2010) (doctor provided “explicit, uncontroverted testimony that, even when provided
22    with the most current research and FDA mandated warnings, he still would have
23    prescribed [the anti-depressant]”); Porter v. Eli Lilly & Co., No. 1:06-CV-1297-JOF,
24    2008 WL 544739, at *13 (N.D. Ga. Feb. 25, 2008) (doctor “unequivocally testified that
25    even if he had read the warning that [plaintiff] asserts should have been given, he still
26    would have prescribed [the anti-depressant] to the decedent”). Defendants cite no such
27    testimony from Dr. Avino.5
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             5
                 Defendants assert in their reply that Plaintiffs did not ask Dr. Avino during his

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 1           Defendants’ reliance on In re Wright Medical Technology Inc., 127 F. Supp. 3d
 2    1306 (N.D. Ga. 2015), is misplaced. Doc. 7351 at 7. The undisputed evidence in that
 3    case showed that the physician educated himself about product risks by reviewing the
 4    medical literature, had never read package insert warnings for any device he implanted,
 5    and did not have access to the insert prior to the plaintiff’s surgery because it was in a
 6    sterile package. 127 F. Supp. 3d at 1359-60. Moreover, the failure to warn claim was
 7    governed by Utah law, not the law of Georgia. See id. at 1358.
 8           Defendants’ reliance on Wheat and Ellis fares no better. Doc. 7351 at 7-9. Each
 9    treating physician in Wheat unequivocally testified that “he was aware of the risks
10    associated with spinal implant surgery, that such risks were well known in the medical
11    community, and that he would have taken the same course of action in spite of the
12    information [the plaintiffs] contend[ed] should have been provided.”         46 F. Supp.
13    at 1363. Ellis held that a medical device manufacturer has no duty to warn anyone other
14    than the learned intermediary, and granted summary judgment because it was undisputed
15    that this duty had been met. 311 F.3d at 1281-83 (“[W]e conclude that Georgia’s learned
16    intermediary rule controls this case, [and] that the defendants adequately warned the
17    doctors . . . of the damages of third-party [pain pump] activation[.]”).6
18           B.     Adequacy of the Warnings.
19           The Eclipse IFU included the following warnings:
20           Filter fracture is a known complication of vena cava filters. There have
21           been some reports of serious pulmonary and cardiac complications with
22
      deposition whether a different warning would have mattered. Doc. 8391 at 10. But
23    apparently neither did Defendants. Absent unequivocal testimony in this regard,
      summary judgment is not warranted. See Watkins v. Eli Lilly & Co., No. 1:08-CV-1665,
24    2010 WL 11493785, at *9 (N.D. Ga. Mar. 31, 2010) (denying summary judgment where
      the defendant failed to “nail[] this matter down” through deposition testimony).
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             6
               Defendants assert in their reply that Plaintiffs have presented no evidence that
26    the Eclipse filter fractured at a significant enough rate to render Bard’s warnings about
      fracture inadequate. Doc. 8391 at 9. Plaintiffs present evidence of significantly higher
27    fracture rates for the G2 filter, claim that the Eclipse is essentially the same as the G2,
      and dispute whether electropolishing of the Eclipse was effective in reducing fracture
28    rates experienced by the G2. Id. at 4 n.3, 16. Given this evidence, the fracture rate for
      Eclipse filters is an issue for the jury.

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 1           vena cava filters requiring the retrieval of the fragment utilizing
 2           endovascular and/or surgical techniques.
             ....
 3
 4           [T]he above complications may be associated with serious adverse events
             such as medical intervention and/or death. There have been reports of
 5           complications including death, associated with the use of vena cava filters
 6           in morbidly obese patients. The risk/benefit ratio of any of these
             complications should be weighed against the inherent risk/benefit ratio for a
 7           patient who is at risk of pulmonary embolism without intervention.
 8
      Doc. 7352-1. Defendants contend that these warnings were adequate as a matter of law
 9
      because they included a risk of fracture – the very complication experienced by Mrs.
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      Jones. Doc. 7351 at 8-9. Plaintiffs argue that the warnings were inadequate because they
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      did not include risk rates or disclose that the risks associated with the Eclipse filter were
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      higher than those for the SNF and other IVC filters. Doc. 7943 at 10. Anticipating this
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      argument, Defendants counter that Georgia law imposes no duty on a manufacturer to
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      provide comparative risk rates for its product and those of competitors. Doc. 7351
15
      at 9-10.
16
             The Court addressed this issue in ruling on Defendants’ summary judgment
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      motion in the Booker case. Agreeing with the decisions in Cason and Cisson, which
18
      applied Georgia law, the Court found that whether Bard’s warnings were adequate is a
19
      question of breach, not duty. Doc. 8874 at 6-7 (citing Cason, 2015 WL 9913809, at *4-5;
20
      Cisson v. C. R. Bard, Inc., No. 2:11-cv-00195, 2013 WL 5700513, at *7 (S.D. W. Va.
21
      Oct. 18, 2003)). The Court reaches the same conclusion in this case.
22
             The Court further finds that the alleged failure to warn about the rate of
23
      complications raises a jury question over the adequacy of Bard’s warnings. “The general
24
      rule in Georgia is that the adequacy of the warning is an issue for the jury [unless] . . . the
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      facts support only one conclusion, that is, the warning and its communication were
26
      adequate.” Thornton, 22 F.3d at 289 (citations omitted). The evidence presented in this
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      case, when construed in the light most favorable to Plaintiffs, see Matsushita, 475 U.S.
28
      at 587, supports a finding that Bard’s warnings for the Eclipse filter were not “adequate

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 1    or reasonable under the circumstances of the case.” McCombs, 587 S.E.2d at 595. The
 2    “question that must be answered by the fact finder is whether the warning given was
 3    sufficient or was inadequate because it did not ‘provide a complete disclosure of the
 4    existence and extent of the risk involved.’” Watkins v. Ford Motor Co., 190 F.3d 1213,
 5    1220 (11th Cir. 1999) (quoting Thornton, 22 F.3d at 289). In short, whether the warnings
 6    should have included comparative risk rates will be for the jury to decide. See Cason,
 7    2015 WL 9913809, at *5 (“Given . . . that defendants did not warn Mrs. Cason’s doctor
 8    about any increased risk associated with the G2 Filter, a reasonable fact finder could
 9    conclude that the IFU did not contain an adequate warning[.]”); Cisson, 2013 WL
10    5700513, at *7 (failure to warn about “the rate or severity of potential injury creates a
11    jury question over the adequacy of warnings”); Watkins, 190 F.3d at 1219-20 (denying
12    summary judgment on failure to warn claim where Ford’s internal documents showed
13    that the Bronco II had a rollover fatality rate more than three times that of other SUVs
14    and the vehicle was rated last in government stability tests); In re Mentor Corp. ObTape
15    Transobturator Sling Prods. Liab. Litig., 711 F. Supp. 2d 1348, 1378 (M.D. Ga. 2010)
16    (finding a triable issue on adequacy of warning where the product had a greater
17    propensity to cause complications and was associated with more severe complications
18    than other products).
19           Defendants contend that Georgia law does not require a manufacturer to provide
20    comparative rates of complications for its products. Doc. 7351 at 9-10 (citing Dixie Grp.,
21    Inc. v. Shaw Indus. Grp., Inc., 693 S.E.2d 888, 892 (Ga. Ct. App. 2010); Hoffman v. AC
22    & S, Inc., 548 S.E.2d 379, 382 (Ga. Ct. App. 2001)). But as previously explained
23    (Doc. 8874 at 9), the cases cited by Defendants concern very different questions: whether
24    a manufacturer can be liable for injuries caused by modifications another party made to
25    its product, Dixie Grp., 693 S.E.2d at 892, and whether a plaintiff must show that it was
26    the defendant’s asbestos product – as opposed to asbestos products generally – that
27    caused her mesothelioma, Hoffman, 548 S.E.2d at 382. “Nothing in these cases suggests
28    that a manufacturer’s warning is adequate even if it fails to warn that the product is


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 1    significantly more dangerous than other similar products on the market.” Cason, 2015
 2    WL 9913809, at *5.
 3           Defendants state in their reply that including warnings about comparative risk
 4    rates “is almost certainly precluded by FDA regulations,” but they cite no specific
 5    regulation in support of this assertion. Doc. 8391 at 6. Defendants’ reliance on cases
 6    involving prescription drugs is misplaced because those cases concern a specific FDA
 7    regulation not applicable to medical devices such as the Eclipse filter. See 21 C.F.R.
 8    § 201.57(c)(7) (“The requirements in this section apply only to prescription drug
 9    products[.]”).
10           Defendants further state that providing comparative warnings would be impossible
11    because the data for defining actual rates is inherently unreliable and ever-changing.
12    Doc. 8391 at 6-7. The question, however, is not whether Defendants were able to
13    provide completely accurate and up-to-date failure rate comparisons, but whether, prior
14    to Mrs. Jones’s surgery, “they had sufficient information such that they knew or should
15    have known that use of the [Eclipse filter] involved a significantly increased risk of
16    [fracture] as compared to other IVC filters.” Cason, 2015 WL 9913809, at *6. As
17    explained above, a jury reasonably could conclude that Defendants had such information
18    and therefore had a duty to warn Dr. Avino of the increased risk.
19           Finally, Defendants contend that summary judgment is warranted because
20    Plaintiffs have identified no alternative warning. Doc. 8391 at 8-9 (citing Nolley v.
21    Greenlee Textron, Inc., No. 1:06-CV-228-MHS, 2007 WL 5369405, at *6 (N.D. Ga.
22    Dec. 6, 2007)). To the contrary, Plaintiffs make clear Bard should have disclosed to
23    implanting physicians such as Dr. Avino that Bard filters (including the Eclipse)
24    fractured at rates significantly higher than the SNF and competitor filters. Doc. 7943
25    at 2, 7, 10. The jurors in this case, unlike in Nolley, will be presented with proposed
26    warnings and will have a means by which to determine whether the actual warnings were
27    adequate.
28           In summary, there are triable issues as to whether Bard’s warnings in this case


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 1    were adequate and whether Bard sufficiently communicated the warnings to Dr. Avino.
 2    The Court will deny summary judgment on Plaintiffs’ failure to warn claims (Counts II
 3    and VII).
 4    V.      Misrepresentation (Counts VIII and XII).
 5            Defendants contend that the misrepresentation claims fail for the same reasons the
 6    failure to warn claims fail, namely, that Bard provided adequate warnings and the alleged
 7    failure to warn could not be the proximate cause of Plaintiffs’ injuries. Doc. 7351 at 6.
 8    For reasons explained above, the failure to warn claims survive summary judgment.
 9            Defendants also note, however, that Georgia does not recognize a claim for
10    misrepresentation apart from a failure to warn claim in products liability cases. Id. at 6
11    n.2.7   Defendants rely on two district court cases: Brazil v. Janssen Research &
12    Development, LLC, 249 F. Supp. 3d 1321, 1340 (N.D. Ga. 2016), and Swicegood v.
13    Pliva, Inc., 543 F. Supp. 2d 1351, 1357 (N.D. Ga. 2008). In Swicegood, the plaintiff
14    brought a products liability action after she allegedly suffered an adverse reaction to a
15    generic prescription drug. 543 F. Supp. 2d at 1353. The plaintiff alleged, among other
16    things, that the defendants knew that long-term use of the drug posed a greater risk of
17    causing the adverse reaction than they disclosed to the FDA or the public. Id. The
18    plaintiff asserted several claims under Georgia law, including strict products liability,
19    failure to warn, and misrepresentation.       Id. at 1353-57.    The court concluded that
20    “misrepresentation claims against a manufacturer properly collapse into the failure to
21    warn claims.”      Id. at 1357.    Absent clear Georgia precedent, the court declined
22    “to recognize the viability of misrepresentation claims distinct from products liability or
23    failure to warn claims.” Id.
24            The court in Brazil reached a similar conclusion. The court dismissed the plaintiff’s
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26            7
               Defendants made the same argument in seeking summary judgment on the
      misrepresentation claims in the Booker case (Doc. 7460 at 7-8 n.3), but withdrew this
27    position at oral argument in Booker for reasons they did not explain (see Doc. 8874 at 14
      n.5).
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 1    misrepresentation claim, noting that Swicegood had “determined that there [are] no
 2    misrepresentation claims for products liability distinct from failure to warn claims.” 249 F.
 3    Supp. 3d at 1340; see Gaddy v. Terex Corp., 1:14-cv-1928-WSD, 2017 WL 3476318,
 4    at *5 (N.D. Ga. May 5, 2017) (same).
 5            The Court finds these rulings by Georgia-based federal judges, applying Georgia
 6    law, to be persuasive. See also In re Darvocet, Darvon & Propoxyphene Prods. Liab.
 7    Litig., 856 F. Supp. 2d 904, 910 (E.D. Ky. 2012) (citing Swicegood and noting that
 8    “courts in many states have expressly rejected the argument that misrepresentation claims
 9    are distinct from product liability or failure-to-warn claims” (citations omitted)). The
10    Court will grant summary judgment on the misrepresentation claims (Counts VII and
11    XII).
12            Plaintiffs note that Potts v. UAP-GA AG CHEM, Inc., 567 S.E.2d 316, 318 (Ga.
13    Ct. App. 2002), contemplated that a misrepresentation claim could be distinct from a
14    failure to warn claim in a products liability suit. But the misrepresentation claim in Potts
15    was truly distinct. It was asserted against the decedent’s former employer for allegedly
16    misrepresenting to a physician that the decedent was not exposed to the chemicals at
17    issue. 567 S.E.2d at 319-20. Unlike the misrepresentation claims asserted in this case,
18    the claim in Potts was distinct from the strict liability and failure to warn claims asserted
19    against the manufacturer. Id. (“Here the misrepresentation was to LeBlanc’s physician,
20    on whom LeBlanc was relying for treatment.           Through the misrepresentation, [the
21    employer] induced the physician to discount the possibility of chemical poisoning and to
22    change LeBlanc’s treatment, on which treatment LeBlanc was relying for his physical
23    recovery.”).8
24    VI.     Negligence Per Se (Count IX).
25            “In Georgia, ‘the violation of a statute, ordinance or mandatory regulation that
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              8
                Defendants assert in their reply that even if Georgia recognized separate products
27    liability misrepresentation claims, Plaintiffs offer no evidence of the required elements,
      such as scienter and justifiable reliance. Doc. 8391 at 12. The Court will not grant
28    summary judgment based on an argument raised for the first time in a reply brief.
      See Zamani v. Carnes, 491 F.3d 990, 997 (9th Cir. 2007).

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 1    imposes a legal duty for the protection of others constitutes negligence per se.’” Ashton
 2    Park Trace Apartments, LLC v. W. Oilfields Supply Co., No. 14-CV-4056-MHC, 2015
 3    WL 12469074, at *6 (N.D. Ga. July 16, 2015) (citation omitted). This theory of liability
 4    is codified in a Georgia statute: “When the law requires a person to perform an act for
 5    the benefit of another or to refrain from doing an act which may injure another, although
 6    no cause of action is given in express terms, the injured party may recover for the breach
 7    of such legal duty if he suffers damage thereby.” Ga. Code Ann. § 51-1-6.
 8           Plaintiffs allege that Defendants are liable for negligence per se because they
 9    violated various provisions of the Food, Drug, and Cosmetic Act (“FDCA”), 21 U.S.C.
10    § 301 et seq., and related regulations, by misbranding Bard filters, making false and
11    misleading statements about the filters, failing to notify the FDA when the filters were no
12    longer safe and effective, failing to recall the devices, and not maintaining accurate
13    adverse event reports.    Doc. 364 ¶ 231.9    This claim is impliedly preempted under
14    21 U.S.C. § 337(a), Defendants argue, because no private right of action exists under the
15    FDCA and all proceedings to enforce or restrain violations of the statute must be brought
16    by the FDA. Doc. 7351 at 11-12. The Court agrees with Defendants.10
17           “The FDCA leaves no doubt that it is the Federal Government rather than private
18    litigants who are authorized to file suit for noncompliance with the medical device
19    provisions.” Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341, 349 n.4 (2001).
20    Indeed, § 337(a) expressly provides that “all . . . proceedings for the enforcement, or to
21    restrain violations, of [the FDCA] shall be by and in the name of the United States.”
22    Thus, “a private litigant cannot bring a state-law claim against a defendant when the
23    state-law claim is in substance (even if not in form) a claim for violating the FDCA –
24    that is, when the state claim would not exist if the FDCA did not exist.” Leonard v.
25
26
             9
              Specifically, Plaintiffs allege violations of 21 U.S.C. §§ 321, 331, 352, and
27    21 C.F.R. §§ 1.21, 801, 803, 807, 820. Doc. 364 ¶ 231(a)-(j).
28           10
                  The Court reached the same conclusion in the Booker case. See Doc. 8874
      at 14-18.

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 1    Medtronic, Inc., No. 1:10-CV-03787-JEC, 2011 WL 3652311, at *7 (N.D. Ga. Aug. 19,
 2    2011) (citation omitted).
 3           Plaintiffs assert no violation of a Georgia ordinance, regulation, or statute in
 4    support of their negligence per se claim. Thus, “as in Buckman, [Plaintiffs’] negligence
 5    per se claim (or, more appropriately characterized, [their] negligence claim based solely
 6    on violations of the FDA-Imposed Requirements or other FDA regulations) is impliedly
 7    preempted by the FDCA.” Grant v. Corin Grp. PLC, No. 3:15-CV-169-CAB-BLM,
 8    2016 WL 4447523, at *4 (S.D. Cal. Jan. 15, 2016); see Buckman, 531 U.S. at 353 (state
 9    law claim that a defendant violated the FDCA by making false statements to the FDA
10    impliedly preempted by § 337(a) because the claim “exist[ed] solely by virtue” of the
11    FDCA); Leonard, 2011 WL 3652311, at *8 (finding negligence per se claim preempted
12    by § 337(a) where it “would not exist prior to the enactment of the FDCA misbranding
13    and adulteration laws because the claim only alleges violation of that law”).
14           Plaintiffs assert that Leonard is inapposite because, unlike Bard IVC filters, the
15    medical device at issue in Leonard had been approved by the FDA through the rigorous
16    premarket approval process. Doc. 7943 at 18. But this was not the basis for Leonard’s
17    implied preemption finding.        Leonard found implied preemption because “all
18    proceedings to enforce or restrain violations of the FDCA ‘shall be by and in the name of
19    the United States.’” 2011 WL 3652311, at *7 (quoting § 337(a)). Moreover, preemption
20    under § 337(a) is not limited to devices approved through the premarket approval
21    process. The device at issue in Buckman – like the Eclipse filter in this case – was
22    cleared for market under 510(k) review. 531 U.S. at 346-47.
23           Plaintiffs note that Georgia common law and § 51-1-6 recognize that laws which
24    do not create a private right of action may nonetheless support a claim for damages.
25    Doc. 7943 at 18-19 (citing Amick v. BM & KM, Inc., 275 F. Supp. 2d 1378, 1282-83
26    (N.D. Ga. 2003) (finding that “the defendants breached the legal duties imposed by
27    [Georgia code] sections 30-4-2 and 43-21-3 when they prohibited Amick and his service
28    dog from staying at their hotel”)). While it is true that courts generally have allowed a


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 1    negligence per se claim based on violation of a statute that does not expressly provide for
 2    a private right of action, “the plain language of § 337(a) and the Buckman decision
 3    indicate that, where the FDCA is concerned, such claim fails.” Dunbar v. Medtronic,
 4    Inc., No. CV 14-01529-RGK AJWX, 2014 WL 3056026, at *6 (C.D. Cal. June 25, 2014).
 5           The Court will grant summary judgment on Plaintiffs’ negligence per se claim
 6    because allowing the claim to go forward would authorize an impermissible action to
 7    enforce provisions of the FDCA and its implementing regulations. See Leonard, 2011
 8    WL 3652311, at *7-8; Franklin v. Medtronic, Inc., No. 09-cv-02301-REB-KMT, 2010
 9    WL 2543579, at *8 (D. Colo. May 12, 2010) (negligence per se claim preempted where it
10    was based on allegations that the defendant violated the FDCA by selling a misbranded
11    and adulterated product); Connelly v. St. Jude Med., Inc., No. 5:17-cv-02005-EJD, 2017
12    WL 3619612, at *5 (N.D. Cal. Aug. 23, 2017) (negligence per se claim preempted where
13    it was “based entirely on violations of the FDCA and its implementing regulations”);
14    Perez v. Nidek Co., 711 F.3d 1109, 1120 (9th Cir. 2013) (finding fraud on the FDA claim
15    preempted where the plaintiff was not suing under state law for conduct that happens to
16    violate the FDCA, but instead is suing solely “because the conduct violates the FDCA.”).
17    VII.   Punitive Damages.
18           Under Georgia law, punitive damages may be awarded only where the defendant’s
19    actions “showed willful misconduct, malice, fraud, wantonness, oppression, or that entire
20    want of care which would raise the presumption of conscious indifference to
21    consequences.”    Ga. Code Ann. § 51-12-5.1(b).        Defendants contend that punitive
22    damages are not warranted because there is no evidence Bard acted with the requisite
23    state of mind, and Bard otherwise complied with all applicable FDA regulations in
24    bringing its filters to market. Doc. 7351 at 12-13. “Compliance with federal regulations,
25    however, is not sufficient to automatically preclude an award of punitive damages.”
26    Cason, 2015 WL 9913809, at *6. This is particularly true where, as in this case, the
27    device at issue was cleared by the FDA under 510(k) review which focuses primarily on
28    equivalence with other products, not safety. Cisson, 2013 WL 5700513, at *12.


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 1           Plaintiffs claim that Bard’s actions show a conscious indifference to the dangerous
 2    consequences posed by the Eclipse and its predecessor filters. Doc. 7943 at 19-23.
 3    Plaintiffs argue that a jury reasonably could award punitive damages because there is
 4    evidence that Bard knew that its retrievable filters were less safe than the SNF and were
 5    failing at higher rates than competitor devices, and yet never identified the root cause of
 6    the failures, provided adequate warnings, or recalled or suspended sales of Bard filters.
 7    Id. at 20-23. The Court previously found that Plaintiffs have presented evidence that, if
 8    believed by a jury, would be sufficient to support a finding that Bard knew the G2 filter
 9    was failing at significantly higher rates than other IVC filters, but did nothing to correct
10    the problem or to warn doctors of the increased risk. Doc. 8874 at 20. Plaintiffs claim
11    that the Eclipse is just a rebranded G2 or G2X filter, citing an internal Bard document
12    explaining that the filter’s name was changed to “break with the baggage associated with
13    the previous versions despite the fact that the new iteration was the same as G2X in every
14    way but one.” Doc. 7943 at 22 (citing Doc. 7950 ¶ 102, Ex. 99).11
15           Defendants counter that the design change made to the Eclipse – electropolishing
16    – was intended to improve fracture resistance and precludes a finding that Bard did
17    “nothing” to address the issue of fracture. Doc. 8391 at 15-16. But Plaintiffs claim that
18    Bard consciously chose not employ other known safety features in the Eclipse such as
19    penetration limiters and caudal anchors to reduce the risk of perforation, tilt, and
20    migration. Doc. 7943 at 22. Plaintiffs’ expert on the design of Bard filters opines that
21    filter failure modes can work synergistically, and that fractures are more likely to occur
22    when a filter tilts, migrates, or perforates the IVC wall. Docs. 7807-1 at 21, 7319-1
23    at 37-38. Plaintiffs contend that the Eclipse suffered from the same design defects and
24    caused the same type of injuries as its predecessors, and that rather than recalling the
25    product from the market, making substantive design changes to improve patient safety, or
26    warning physicians about the dangers, Bard simply renamed the device and continued
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28           11
               The only modification to the G2X from the G2 was the addition of a snare hook
      to improve retrievability. The filters otherwise are the same.

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 1    selling it. Doc. 7943 at 22. Plaintiffs claim that the Eclipse was used as a stop-gap
 2    device so that Bard could maintain market share and profits while it engaged in a
 3    complete redesign of the filter. Id. at 22, 24-25.
 4           Defendants vigorously dispute this view of the evidence, and claim that Bard
 5    could not have brought its subsequent generation filters to market by the time Mrs. Jones
 6    received an Eclipse filter. But if a jury were to believe Plaintiffs’ version of events, it
 7    reasonably could “conclude that Bard acted with an entire want of care such that Bard
 8    was consciously indifferent to the consequences of its actions.”       Cisson, 2013 WL
 9    5700513, at *14.
10           Defendants contend that incidents involving the Recovery and G2 line of filters
11    are irrelevant because Plaintiffs cannot show a “substantial similarity” between those
12    devices and the Eclipse.      Doc. 8574 at 14-16.    “To show substantial similarity, the
13    plaintiff must come forward with evidence that the other ‘incidents share a common
14    design, common defect, and common causation with the alleged design defect at issue.’”
15    Chrysler Grp., LLC v. Walden, 792 S.E.2d 754, 740 (Ga. Ct. App. 2016) (quoting Colp v.
16    Ford Motor Co., 630 S.E.2d 886, 889 (Ga. 2006)). Plaintiffs have met this burden.
17           It is undisputed that the Recovery filter was the predicate device for the G2, and
18    Plaintiffs have presented evidence that the two devices share common design defects that
19    have caused similar complications. See Docs. 8874 at 21, 10258 at 2-3. Plaintiffs also
20    have presented evidence that the Eclipse is the same as the G2 line of filters with only
21    one modification (electropolishing). Doc. 7950 ¶¶ 96, 101-102. Although the Eclipse
22    may not be identical to the Recovery and G2, Plaintiffs have shown a “substantial
23    similarity” between the filters.
24           IT IS ORDERED:
25           1.     The following claims are dismissed based on Plaintiffs’ withdrawal of the
26    claims before Defendants moved for summary judgment: manufacturing defect (Counts I
27    and V), negligent failure to recall or retrofit (Count VI), and breach of warranty (Counts
28    X and XI).


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 1          2.     Defendants’ motion for partial summary judgment (Doc. 7351) is granted
 2    in part and denied in part. The motion is granted with respect to Plaintiffs’ claims for
 3    misrepresentation (Counts VIII and XII), negligence per se (Count IX), and consumer
 4    fraud and unfair trade practices (Count XIV). The motion is denied with respect to the
 5    claims for failure to warn (Counts II and VII) and punitive damages. These claims, along
 6    with the claims for design defect (Counts III and IV), fraudulent concealment (Count
 7    XIII), and loss of consortium (Count XV), remain for trial.
 8          3.     A final pretrial conference is set for May 4, 2018 at 10:00 a.m.
 9    Doc. 10324. The trial is set to begin on May 15, 2018 at 9:00 a.m. Doc. 8144.
10          Dated this 12th day of March, 2018.
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